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 6                            UNITED STATES DISTRICT COURT
 7                      SOUTHERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                 Case No.: 15-cr-1224-1-GPC
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10               Plaintiff,
          v.                                   ORDER AND JUDGMENT
11                                             DISMISSING INDICTMENT WITHOUT
                                               PREJUDICE
12 JULIO CESAR RODRIGUEZ (1),
13              Defendant.
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16        Upon motion of the UNITED STATES OF AMERICA, and good cause
17 appearing,
18        IT IS HEREBY ORDERED that the charges in the above-entitled case be
19 dismissed without prejudice as to defendant JULIO CESAR RODRIGUEZ only.
20        SO ORDERED.
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     Dated: April 22, 2016
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